

People v Sanchez (2022 NY Slip Op 00357)





People v Sanchez


2022 NY Slip Op 00357


Decided on January 20, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 20, 2022

Before: Kapnick, J.P., Singh, Moulton, Shulman, Higgitt, JJ. 


Ind. No. 2242/15, 3625/18 Appeal No. 15124-15124A Case No. 2019-794, 2019-1876, 2019-01952, 2019-02200 

[*1]The People of the State of New York, Respondent,
vBernardo Sanchez, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jody Ratner of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Philip V. Tisne of counsel), for respondent.



Appeals having been taken to this Court by the above-named appellant from the judgments of the Supreme Court, New York County (Patricia Nunez, J., at plea; Guy H. Mitchell, J., at sentencing), rendered January 3, 2019, and same court, New York County (Michael J. Obus, J.), rendered February 14, 2019,
Said appeals having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgments so appealed from be and the same are hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 20, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








